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                      IN THE UNITED STATES DISTRICT COURT

                                     DISTRICT OF UTAH




UNITED STATES OF AMERICA,
                                                     Case No. 2:22-CR-463
Plaintiff,
                                                     UNITED STATES’ FIRST NOTICE OF
vs.                                                  INTENT TO INTRODUCE
                                                     EVIDENCE PURSUANT TO RULE
THOMAS WILLIAM DORSHER,                              404(b) OF THE FEDERAL RULES OF
    AKA “SCAMMERBLASTER”                             EVIDENCE

Defendant.                                           Honorable Jill N. Parrish




        The United States hereby gives notice of its intent to introduce evidence at trial of

defendant THOMAS WILLIAM DORSHER’s other crimes, wrongs, or acts pursuant to

FED. R. EVID. 404(b). The United States believes much of the evidence identified herein is

intrinsic evidence of the alleged criminal conspiracy, including its scope, the relationship of

its participants, its operations, and its illicit nature. The United States additionally identifies

that evidence here as alternatively admissible as extrinsic evidence to be admitted for

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purposes permissible under Rule 404(b), but only in abundance of caution. The United

States does not waive, and expressly reserves the right to present this evidence as intrinsic

evidence or on other theories of admissibility independent of Rule 404(b) admissibility.

Specifically, the United States may seek to introduce the following evidence:

          a) To show DORSHER’s intent, knowledge, opportunity, lack of accident or
             mistake, and preparation, the United States will introduce evidence that
             DORSHER forwarded a so-called scambaiter’s call flooding attack to the
             FBI’s main line and brought it down for ten minutes;

          b) To show DORSHER’s motive, intent, knowledge, lack of accident or mistake,
             and preparation, the United States will introduce evidence that DORSHER
             launched a robocalling/traffic pumping campaign that simultaneously served
             to promote ScammerBlaster and to generate revenues for DORSHER and
             ScammerBlaster operations in the amount of at least approximately
             $291,123.02. He made approximately 9 million robocalls, playing the
             following message:

                  This is an important public service announcement. There is a rise in
                  scam calls impacting people around the world. Many of these
                  scammers are directly funding terrorist organizations, and in 2017, 16
                  billion dollars was scammed from Americans. Much of this money is
                  used to fund terrorist organizations such as the Al-Qaeda and ISIS to
                  further hurt our neighbors around the world. It is critical that you
                  report any phone calls from these scammers to the FCC or to the
                  phone company of the scammer. You can use free carrier look up
                  tools to identify the carrier and then call or email the carrier so that the
                  scammer’s phone system is shut down. Most importantly, if someone
                  with a foreign accent claims to be the IRS, Social Security
                  Administration Office, Microsoft, Amazon, Cash App, or any other
                  questionable source that generally doesn’t call you, immediately hang
                  up the call and report it on our website, scammerblaster.com. Again
                  that’s scammerblaster.com. Knowledge is power. If everyone refuses
                  to fall victim to these scams, then the scammer’s revenue source will
                  dry up and together we can get this problem significantly reduced.

          c) To show DORSHER’s motive, knowledge, intent, and lack of mistake or
             accident, evidence that DORSHER falsely identified himself on caller
             identifications as the “FBI,” told his coconspirators about it, and encouraged
             them to impersonate the FBI as well;


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          d) To show DORSHER’s motive, intent, lack of accident or mistake, evidence
             that DORSHER recruited someone from a scam call center in a foreign
             country to divert the call center’s customers/victims to DORSHER and his
             coconspirator by informing the victims the call center was a scam, but then
             providing nominal services that the customer did not actually need at
             predatory prices, with DORSHER suggesting they could charge “stupid
             Americans” what DORSHER called a “crazy amount of money” for the “fix”
             as long as they agreed to it;

          e) To show DORSHER’s motive, intent, lack of accident or mistake, identity and
             modus operandi, evidence that DORSHER engaged in the conduct described
             in paragraphs 11(g) and 11(h) of the indictment, such as automated attacks
             and threats of automated attacks meant to overwhelm and disable law
             enforcement reporting portals for telephone services companies, as well as
             attacks involving what DORSHER and coconspirators described as “ear
             rape”;

          f) To show DORSHER’s lack of accident or mistake, identity, and modus
             operandi, evidence that DORSHER and his coconspirators targeted a
             paralegal at a telephone services company by forwarding calls to her; making
             unsolicited calls to her for the purpose of harassing her; flooding her phone
             and email; attacking her with calls using loud, hearing damaging noise in so-
             called “ear rape” attacks; hurling racist epithets at her and telling her to kill
             herself; and signing her up for multiple casual sex dating services so she would
             receive unsolicited, pornographic emails;

          g) To show DORSHER’s intent and lack of accident or mistake, evidence that
             DORSHER recruited people whom he knew to have vulnerable mental health
             conditions and legal troubles with the police to aid him in his
             SCAMMERBLASTER activities.

       The United States reserves the right to supplement this notice and to advance this

evidence under other theories of admissibility, such as intrinsic evidence of the conspiracy.

See Indictment at ¶¶ 1-13.

Dated: April 22, 2024.                            Respectfully submitted,

                                                  TRINA A. HIGGINS
                                                  United States Attorney
                                                  /s/Carl D. LeSueur
                                                  CARL D. LESUEUR
                                                  Assistant United States Attorney

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